              Case 21-40834-drd11                          Doc 212 Filed 10/27/21 Entered 10/27/21 16:25:16                                Desc
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Missouri
 In re       Interstate Underground Warehouse and Industrial Park, Inc.                                       Case No.      21-40834
                                                                Debtor(s)                                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept as a retainer                                    $                 35,000.00
             Prior to the filing of this statement I have received                                        $                 35,000.00
             Balance Due for a retainer                                                                   $                        0.00

2.     $    0.00      of the filing fee has been paid through my office.

3.     The source of the compensation paid to me was:
                   Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation,
       b.   Preparation and filing of any amended schedules, amended statement of affairs, plan and disclosure statement which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Preparation and filing of Plan of Reorganization and Disclosure Statement; preparation and filing of motions,
                 notices and other appropriate documents; attending hearings, negotiating with creditors and parties in interest;
                 drafting proposed orders and providing all necessary services required in this Chapter 11. Counsel is charging
                 hourly fees as set out in its Motion to be employed. Debtor paid a $35,000 retainer toward those hourly
                 fees/expenses.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               n/a
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 27, 2021                                                            /s/ Erlene W. Krigel
     Date                                                                        Erlene W. Krigel 29416
                                                                                 Signature of Attorney
                                                                                 Krigel & Krigel, PC
                                                                                 4520 Main Street, Suite 700
                                                                                 Kansas City, MO 64111
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                                                                                 Name of law firm




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